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GENERAL

ACTS

JOINT AND CONCURRENT RESOLUTIONS
AND MEMORIALS

AND

PROPOSED CONSTITUTIONAL
AMENDMENTS

OF THE

Forty-fourth General Assembly

OF THE

STATE OF ARKANSAS

Passed at the Session held at the Capitol, in the City of Little
Rock, Arkansas, Commencing on the 8th day of January,
1923, and Ending on the 8th day of March, 1923.

TT
BY AUTHORITY

Democrat Painting &-LiruocrapHinc Co

Lirttz Rock

EXHIBIT “Q”
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Acr 430) Acts or ARKANSAS. 379
ACT 430.
AN ACT to regulate the Ownership of Pistols and Re-
volvers.
SECTION

1. Unlawful to carry pistol, except it be recorded.
2. License, fee, goes to district school fund.

3. Applies to pistols as acquired in future. Penalty for vio-
lation. .

4, Conflicting laws repealed, emergency, in force from pas-
sage. .

Be It Enacted by the General Assembly of the State of
Arkansas: ,

Be It! Enacted by the People of the State of Arkansas:

From and after the passage of this Act, it shall
be unlawful for any person to own or have in his
custody or possession any pistol or revolver, except as
herein provided: ,

Section 1. Any person having in his possession
or custody any pistol or revolver, shall within 60 days
from the approval of this Act, present such firearm
to the county clerk of the county, where he resides,
and it shall be the duty of the said county clerk to en-
ter upon a separate record provided for that purpose,
the name, age, place of residence, and color of the
party, together with the make, calibre and number of
said pistol or revolver.

Section 2, Any person so registering as provided
in section 1 of this Act, shall then make application for
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380 Acts or ARKANSAS. [Acr 430

a license or permit, which said application shall be
passed upon by a board consisting of the sheriff,
county judge and county clerk of said county whose
duty it shall be to consider the application and if the
applicant be a person of good moral character, whose
conduct, past record and occupation is such as to prove
to said board that he is a person of good character,
then the county clerk shall issue to the applicant a
permit, upon a printed form provided for that purpose,
and bearing the seal of the county, granting permission
to own and possess the pistol or revolver described in
the application, for a period of one year from the
date thereof, for which permit the applicant shall pay
a fee of one ($1.00) dollar which shall go to the common
school fund of the district where the applicant resides.

Section 3. Any person who shall purchase or
acquire possession of any pistol or revolver shall make
application and secure a permit to possess same as
provided by section 2 of this Act, and any person hav-
ing in his custody and control any pistol or revolver,
and who has not secured the permit as herein pro-
vided shall be guilty of a misdemeanor and upon con-
viction shall be fined in any sum not less than fifty and
not more than one hundred dollars, and said fire arm
shall be taken by the sheriff, and publicity destroyed.

Secrion 4. All laws and parts of laws in conflict
herewith are hereby repealed, and this Act being.
necessary for the preservation of the public peace,
health and safety, an emergency is declared, and this
Act takes effect from and after its passage.

Approved March 19, 1923.
